 Case 1:16-cr-00026-MAC-ZJH Document 579 Filed 05/09/18 Page 1 of 1 PageID #: 4909

                                      UNITED STATES DISTRICT COURT

                                Eastern DISTRICT OF Texas

USA

vs.

                                                                                     Defendants Exhibit List
                                                                                     CASE NUMBER: l:16cr26
CHRISTOPHER EMORY CRAMER
RICKY ALLEN FACKRELL


      PRESIDING JUDGE          PLAINTIFF'S ATTORNEYS                    DEFENDANT'S ATTORNEY
      Marcia A. Crone          Joseph Batte/John Craft/Sonia Jimenez    Patrick Black/Douglas Barlow/Robert
                                                                        Morrow/Gerald Bourque

      Trial                    COURT EPORTER                            COURTROOM DEPUTY
      4/30/2018                Tonya Jackson and Chris Bickham          Patricia Leger Anding

  PLTF        DBF.   OFFERED     OBJECTION      DATE     DESCRIPTION OF EXHIBITS AND WITNESSES
  NO.         NO.                             ADMITTED


              1         X                                Transcript - Excerpt of Voir Dire dated 4/12/2018
                                                         (admitted for purposes of hearing dated 4/30/2018)

              2         X                                Incident Review Report [not admitted]
                                                         (to be included in the record)




                                                                                                         1 of I Page
